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            SETTLEMENT AGREEMENT AND MUTUAL GENERAL RELEASE

  This Settlement Agreement and Mutual Release (the “Settlement Agreement”) is made and
  entered into by and between Neman Brothers & Assoc., Inc. (“Plaintiff”), on the one hand, and
  InterFocus Inc. (“Defendant”) on the other hand. Plaintiff and Defendant are collectively referred
  to herein as the “Parties” or individually as a “Party.” This Settlement Agreement will be
  effective as of the date it is fully executed by Plaintiff and Defendant and a copy is provided to
  counsel for each Party (the “Effective Date”).

                                            RECITALS

  WHEREAS, on or about November 26, 2019, Plaintiff filed a complaint against Defendant for
  copyright infringement, vicarious copyright infringement, and contributory copyright
  infringement in the United Stated District Court, Central District of California (Neman Brothers
  & Assoc., Inc. v. Interfocus, Inc., Case No: 19-CV-10112, the “Action”);

  WHEREAS, the Parties now desire to resolve all disputes between them in an orderly manner;
  and

         NOW, THEREFORE for good and valuable consideration, the receipt and sufficiency
  of which are hereby acknowledged, the Parties agree as follows:
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          5.      Notification. For any future intellectual property infringement allegation,
  including but not limited to, any copyright infringement allegation, Plaintiff agrees to give
  Defendant Adequate Notification in writing of such infringement allegation, and allows
  Defendant seven (7) business days from receiving an Adequate Notification of an infringement
  to cure the infringement by removing the allegedly infringed products and/or designs from its
  platform such as Defendant's website and social media account. An Adequate Notification of an
  infringement shall include sufficient information to allow Defendant to ascertain that Plaintiff
  owns the relevant intellectual property rights. An Adequate Notification of a copyright
  infringement of a design shall include proof that Plaintiff owns the copyrights to the design,
  which shall include (a) an image of the design, (b) the name of the design or other identifying
  information of the design, (c) copyright application no(s). of the design, or a copy of the
  application, if such information exists at the time, (d) copyright registration no(s). of the design,
  or a copy of the registration, if such information exists at the time. An Adequate Notification of
  an alleged infringement shall also include reasonably specific information regarding the alleged
  infringement to allow Defendant to cure the infringement, to the extent reasonably available, by
  identifying the infringing products or designs on Defendant’s website(s) or platform(s), including
  (i) images of alleged infringing products or designs, and (ii) hyperlinks to the alleged infringing
  products or designs on Defendant’s website(s) and/or social media platform(s). Plaintiff agrees to
  send the above written notification via email to the Defendant’s contact email addresses:

                 service@patpat.com
                 vivi@patpat.com
                 albert.wang@patpat.com

  and mail a paper copy of the above written notification to Defendant’s mailing address:

                 InterFocus, Inc.
                 650 Castro St, Ste 120-458
                 Mountain View, CA 94041

  Defendant retains the right to change and update Defendant’s contact email addresses and
  contact phone numbers by emailing a written notification to Plaintiff at: jeong@jeonglikens.com,
  followed by a paper copy of the written notification to Plaintiff at:

                 Chan Yong Jeong
                 Jeong & Likens, L.C.
                 222 South Oxford Avenue
                 Los Angeles, CA 90004




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  Plaintiff agrees that it will not file a lawsuit or lodge a complaint against Defendant for an
  alleged infringement before the expiration of thirty (30) days after giving Defendant Adequate
  Notice of the alleged infringement to allow Parties time to resolve the dispute amicably.




          7.       Mutual Releases. The Parties, each on behalf of themselves and each of their
  agents, principals, officers, directors, employees, stockholders, parents, subsidiaries, affiliates,
  predecessors, successors, attorneys, insurers, representatives, heirs, or someone similarly
  situated, and assigns hereby release and forever discharge each other, and all of their respective
  agents, principals, officers, directors, employees, parents, subsidiaries, affiliates, predecessors,
  successors, attorneys, insurers, representatives, heirs and assigns (“Releasees”) of and from any
  and all debts, demands, actions, causes of action, contracts, claims, suits, damages and liabilities
  of any kind whatsoever, in law or in equity, whether known or unknown, anticipated or
  unanticipated, and whether accrued or hereafter to accrue that they now have, may have, or could
  have from the beginning of time to the date of this Release against each other in connection with,
  arising out of or based in whole or in part on any action or omission of action or any facts or
  circumstances occurring or existing on or prior to the date hereof relating to the Action,
  excepting only claims for violations of the Settlement Agreement (“Released Claims”), to the
  extent it relates to the past sale of the garments by InterFocus, shown in Exhibits C-1 through C-
  7 attached to the complaint (Docket No. 1) in the Action filed on 11/26/2019.

  The Parties acknowledge that the Released Claims encompass claims that may not be known to
  or suspected by them at the time this Release is made. The Parties expressly agree to release such
  unknown and unsuspected claims, and except as otherwise stated in this Settlement Agreement,
  waive any and all rights they may have under any applicable statute。

  Section 1542 Acknowledgement. Each Party to this Settlement Agreement acknowledges and
  affirms that he, she or it is familiar with Section 1542 of the California Civil Code, which
  provides that:

         A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS WHICH THE
         CREDITOR OR RELEASING PARTY DOES NOT KNOW OR SUSPECT TO
         EXIST IN HIS OR HER FAVOR AT THE TIME OF EXECUTING THE
         RELEASE AND THAT, IF KNOWN BY HIM OR HER, WOULD HAVE




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         MATERIALLY AFFECTED HIS OR HER SETTLEMENT WITH THE DEBTOR
         OR RELEASED PARTY.

  Each Party knowingly and voluntarily waives the provisions of Section 1542 of the California
  Civil Code, as against each Party released hereby with regard to claims released hereby, and
  acknowledges and agrees that this waiver is an essential and material term of the settlement
  which led to this Settlement Agreement, and that without such waiver, the settlement reflected in
  this Settlement Agreement would not have been entered into. Each Party further acknowledges
  the significance and consequence of the release and the specific waiver of Section 1542 of the
  California Civil Code.




         9.      Confidentiality. The Parties agree to keep the terms of this Agreement
  confidential and not to disclose them to any third parties, except to the Parties’ auditors,
  accountants, attorneys, or financial or legal advisors, in each such instance where that advisor
  has a need to know the information, and except as disclosure otherwise may be required by
  applicable law, regulation, or judicial process, or as required by the Securities and Exchange
  Commission or other governmental agencies.




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        IN WITNESS WHEREOF, the undersigned have signed this Settlement Agreement and
  Mutual Release at the date set forth below.




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